     Case 2:15-cv-03716-WB Document 23 Filed 06/06/16 Page 1 of 2




                        IN TIIE UNITEI} STATES DISTRICT COI'RT
                     rOR fiIE EASTERN DISTRICT OF PENNSYLV.ANH

CARMENNIEVES,
               Plaintiff
                                                           ctvll. AcTIOi\l No. 15-3716
I,}MTED STATES OF A}4ERICA,
               Defendant


ILHAMA AI,lZABInnd
NESHAMINY PHARMACY, LLC
           ltird4arty Dcftndaotr




       It ls hereby stipulstcd by        and botwoeo the uudersigned counsel for plalntift cairueu

Nieves, uademigncd counsel for dpfondant Udtsd Stales, and                u&rsigned courel for Third-

Parg Defantlauts Ihama ArPabi           ernd   Ncstaminy   Ph   mEcy;   LLC (eotlectivoly, "the ?artias)'

thnt plaiutiffhereby yolunmrily dicnrisses with prejudioe all olaims ans€rtod        iil thls action agniust

the united st6tcs.    fic   parri6s furahor stjpulate tliot Third-?a*y Dofstrdslrts llhama Anzebi and

Nohaminy Pharr.racy, LLC hcreby voluntarily dismise wirh prejudice-all claims assertc4 in this

action agaiust the   [iritcd St{tes.   The parties firther stipul*te that defendant Uilited Stites hortby

votuntmily dismisscs        vith prejudico all ckims       asssdod   in this action sgAilst Thtd'Party

Dafendsnts Ilhama Anzabi anrt Neshaoiny ?hartnacy,              LLC. The paties     agree that this tndtter

shalt be dismiesed with prejudtoo as tliere ars       lo   clairns reorai-ning in the instaEt sivil rction.

Pls:ntitrand Thhd-Party Defeudartsl lthnra A.uzahi aad Neshamiay BhBmacy, l"LC, agree that

rcthing in this Stipllatioo shall bc constsucd a! htorplBted ia any way to affo ot I'lteees v, Ilhatw

Anzabi, et a/., Court of Common Pleas, Bucts County, No.2AL5'A5076, to which                    tle United
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ststcs i$ rct. pelrty. Baot party e&all bear its own costs.


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                                                   United Statei ofAiterlca




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